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       7                                                                   The Honorable Ricardo S. Martinez
       8                                IN THE UNITED STATES DISTRICT COURT
       9                                  WESTERN DISTRICT OF WASHINGTON

      10                                                 AT SEATTLE

      11
           PROVIDENCE HEALTH & SERVICES, A   Case No. 2:18-cv-00495-RSM
      12   WASHINGTON NON-PROFIT
           CORPORATION; AND SWEDISH HEALTH
      13   SERVICES, A WASHINGTON NON-PROFIT
           CORPORATION,                      ANSWER BY CERTAIN UNDERWRITERS
      14                                     AT LLOYD'S LONDON, SYNDICATE
                      Plaintiffs,            2623/623 (BEAZLEY) TO COMPLAINT
      15
                       v.                                         DEMAND FOR JURY TRIAL
      16
           CERTAIN UNDERWRITERS AT LLOYD'S
      17   LONDON, SYNDICATE 2623/623
           (BEAZLEY); AND FEDERAL INSURANCE
      18   COMPANY

      19                        Defendants.

      20

      21               Defendants Certain Underwriters at Lloyd's London, Syndicate 2623/623

      22   (“Underwriters” or “Beazley”), by and through their counsel, submit this Answer to Plaintiffs’

      23   Complaint as follows:

      24                                          I.      INTRODUCTION

      25               1.1(a)-(c).    Underwriters admit that paragraph 1.1 states Plaintiffs’ characterization of

      26   what this action is about and what Plaintiffs seek but deny that there has been any breach of

           UNDERWRITERS’ ANSWER TO COMPLAINT                                              SELMAN BREITMAN LLP
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       1   contract by Underwriters, deny that any Plaintiff has been damaged by Underwriters, and deny
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  San 2    that any Plaintiff is otherwise entitled to a declaratory, monetary, or any other judgment against

ancisco3   Underwriters.

 , CA 4                                                  II.     PARTIES
94111 5                                     Plaintiff Providence Health and Services
       6               2.1.     Underwriters admit the allegations contained in paragraph 2.1.
       7                                        Plaintiff Swedish Health Services
       8               2.2.     Underwriters admit the allegations contained in paragraph 2.2.
       9         Defendant Certain Underwriters at Lloyd’s London, Syndicate 2623/623 (“Beazley”)
      10               2.3.     Underwriters admit the allegations contained in paragraph 2.3.
      11               2.4.     Underwriters admit that they subscribe to the Beazley Policy (identified more
      12   fully in answer to Paragraph 4.1 below) but otherwise deny the allegations contained in
      13   paragraph 2.4.
      14                                     Defendant Federal Insurance Company
      15               2.5.     The allegations of paragraph 2.5 pertain to Plaintiffs’ claims against a different
      16   Defendant and, therefore, no response is required from Underwriters. To the extent a response is
      17   required, Underwriters lack sufficient information to determine the truth of those allegations and,
      18   on that basis, denies them.
      19               2.6.     The allegations of paragraph 2.6 pertain to Plaintiffs’ claims against a different
      20   Defendant and, therefore, no response is required from Underwriters. To the extent a response is
      21   required, Underwriters lack sufficient information to determine the truth of those allegations and,
      22   on that basis, denies them.
      23                                     III.    JURISDICTION AND VENUE
      24                                            Subject Matter Jurisdiction
      25               3.1.     The allegations contained in paragraph 3.1 address the state court’s pre-removal
      26   jurisdiction, but to the extent a response is required, Underwriters admit this Court has subject

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       1   matter jurisdiction.
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  San 2                                                Personal Jurisdiction

ancisco3               3.2.     The allegations contained in paragraph 3.2 address the state court’s pre-removal

 , CA 4    jurisdiction, but to the extent a response is required, Underwriters submit to this Court exercising
94111 5    personal jurisdiction for this specific case and, on that basis, admit that this Court has personal
       6   jurisdiction.
       7               3.3.     The allegations contained in paragraph 3.3 address the state court’s pre-removal
       8   jurisdiction, but to the extent a response is required, however, and upon information and belief,
       9   Underwriters admit that this Court has jurisdiction over all the parties in this specific case.
      10                                                      Venue
      11               3.4.     The allegations contained in paragraph 3.4 address the pre-removal state court
      12   venue, but to the extent a response is required, Underwriters admit that this Court is a proper
      13   venue.
      14                                        IV.      INSURANCE POLICIES
      15                                              Beazley’s Primary Policy
      16               4.1.     Underwriters admit to subscribing to Beazley One Management Liability Policy
      17   for Healthcare Organizations Policy No. W14646150301 (the “Beazley Policy”), that the
      18   Beazley Policy identifies Providence Health and Services as a Named Insured and that, subject to
      19   all terms, conditions, and exclusions set forth therein, it has an aggregate limit of liability of
      20   $10,000,000 for all coverages under the Beazley Policy, including Employment Practices
      21   Liability. Underwriters admit that ultimately, effective July 1, 2016, the Beazley Policy was
      22   amended to make the Policy Period 11/1/15 to 7/1/22, but, as originally issued, the Policy Period
      23   was 11/1/15 to 11/1/16. The Beazley Policy speaks for itself and Underwriters deny any
      24   allegations inconsistent therewith.
      25   ///
      26   ///

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       1                                              Federal’s Excess Policy
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                                The allegations of paragraph 4.2 pertain to Plaintiffs’ claims against a different
  San 2                4.2.

ancisco3   Defendant and, therefore, no response is required from Underwriters. To the extent a response is

 , CA 4    required, Underwriters lack sufficient information to determine the truth of those allegations and,
94111 5    on that basis, denies them.
       6                                    V.      UNDERLYING ARBITRATION
       7                          Newell’s Discrimination Claims and the Arbitration Award
       8               5.1.     Underwriters admit this insurance coverage suit arises out of a claim made by Dr.
       9   David W. Newell that culminated in an arbitration resulting in an award against Swedish and
      10   Providence that has since been confirmed in a state court judgment, and that is presently on
      11   appeal. Underwriters admit that by August 2015, Dr. Newell was alleging he was the subject of
      12   age-related discrimination and retaliation, and that an internal investigation of Newell’s
      13   allegations was subsequently initiated. Underwriters otherwise deny the allegations in paragraph
      14   5.1.
      15               5.2.     Underwriters admit that Dr. Newell was arrested for soliciting a prostitute on or
      16   about July 11, 2016 during a sting operation conducted by police, that the information presently
      17   available to Underwriters indicates Dr. Newell did not immediately report the arrest to Plaintiffs,
      18   that the incident was referenced in correspondence that one or both Plaintiffs received from the
      19   State Medical Quality Assurance Commission, that Dr. Newell’s employment was thereafter
      20   terminated, that the stated basis for Dr. Newell’s termination was a failure to immediately report
      21   the arrest, and that Plaintiffs have contended that such failure to immediately report the arrest
      22   breached his employment contract’s terms. Underwriters otherwise deny the allegations of
      23   paragraph 5.2.
      24               5.3.     Underwriters admit that Dr. Newell ultimately commenced an arbitration against
      25   Plaintiffs seeking damages for his alleged mistreatment by Plaintiffs, and that his employment
      26   contract included certain dispute resolution terms that called for arbitration if other methods did

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       1   not result in a resolution. Underwriters otherwise deny the allegations of paragraph 5.3,
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  San 2    including any implication that Newell commenced arbitration without first demanding (before

ancisco3   his termination) relief via other dispute resolution options he claimed a right to under his

 , CA 4    employment contract.
94111 5                5.4.     Underwriters admit that both Swedish and Providence participated in the
       6   arbitration and that both denied they had acted wrongfully toward Dr. Newell and that they had
       7   caused any damage to Dr. Newell. Except as expressly admitted, Underwriters deny the
       8   allegations of paragraph 5.4.
       9               5.5.     Underwriters admit that Dr. Newell’s claim proceeded to arbitration and that, on
      10   August 18, 2017, an arbitration award was rendered against Swedish and Providence. That
      11   award otherwise speaks for itself and Underwriters deny any allegations inconsistent with it.
      12               5.6.     Underwriters admit that Dr. Newell’s claim proceeded to arbitration and that, on
      13   August 18, 2017, an arbitration award was rendered against Swedish and Providence in excess of
      14   $17M. That award otherwise speaks for itself and Underwriters deny any allegations
      15   inconsistent with it.
      16                                      The Judgment and Pending Appeal
      17               5.7.     Underwriters admit that the King County Superior Court entered a judgment
      18   against Plaintiffs on October 27, 2017 confirming Dr. Newell’s arbitration award that included
      19   the amounts stated in the August 18, 2017 arbitration award and $685,178.84 in attorneys’ fees
      20   and costs (the “Judgment”). The Judgment speaks for itself and Underwriters deny any
      21   allegations inconsistent with it.
      22               5.8.     Underwriters admit the allegations contained in paragraph 5.8.
      23                             VI.     THE INSURERS’ COVERAGE POSITIONS
      24                                          Beazley’s Denial of Coverage
      25               6.1.     Underwriters admit that Swedish and Providence did not notify them of Dr.
      26   Newell’s claim until August 28, 2017 – after Dr. Newell was terminated, after the arbitration

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       1   hearing was over, and after the arbitrator had issued an award in excess of $17M. Underwriters
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  San 2    admit that, after promptly acknowledging notice, and conducting a reasonable investigation,

ancisco3   including requests for and review of further information and documentation from Swedish and

 , CA 4    Providence, Underwriters issued correspondence dated February 23, 2018 to the Plaintiffs
94111 5    explaining reasons why, if Dr. Newell’s Judgment against Swedish and Providence is not fully
       6   overturned on appeal, it appears the Beazley Policy will afford no coverage, expressly stating:
       7   “As you know, any coverage under the Policy is subject to a $1 million self-insured retention
       8   which, based on the known facts, has not been satisfied. Thus, Beazley has no present obligation
       9   under the Policy in any event. Thus, this letter should not be viewed as a present denial of
      10   coverage but an explanation of Beazley’s coverage position in the event that the
      11   judgment/awards withstand appeal and/or Swedish and/or Providence ultimately contend that the
      12   $1 million self-insured retention has been satisfied.” Accordingly, Underwriters otherwise deny
      13   the allegations of paragraph 6.1.
      14      Federal Was Notified of the Claim, But Has Not Taken a Substantive Coverage Position
      15               6.2.     The allegations of paragraph 6.2 pertain to Plaintiffs’ claims against a different
      16   Defendant and, therefore, no response is required from Underwriters. To the extent a response is
      17   required, Underwriters lack sufficient information to determine the truth of those allegations and,
      18   on that basis, deny them.
      19                           VII.    FIRST CLAIM: DECLARATORY JUDGMENT
      20               8.1.     Underwriters deny the allegations of paragraph 8.1 with respect to the Beazley
      21   Policy. To the extent they concern the Federal Policy, the allegations pertain to Plaintiffs’ claims
      22   against a different Defendant and, therefore, no response is required from Underwriters. To the
      23   extent a response is required, Underwriters lack sufficient information to determine the truth of
      24   those allegations and, on that basis, deny them.
      25               8.2.     Underwriters believe that the available facts and Beazley Policy language are
      26   sufficiently clear to preclude any genuine controversy over the conclusion that the Beazley

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       1   Policy will afford no coverage for the arbitration award and Judgment confirming same in the
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  San 2    event they are not fully overturned on appeal, and Underwriters have, to date, received no

ancisco3   correspondence from Plaintiffs explaining any basis for disputing any aspect of Underwriters’

 , CA 4    coverage analysis; based on the existence of this lawsuit, however, Underwriters admit Plaintiffs
94111 5    apparently dispute Underwriters’ coverage analysis and, to that extent, admit that a controversy
       6   exists.
       7               8.3.     Because Plaintiffs have not to date explained any basis for disputing
       8   Underwriters’ coverage analysis, and have not identified any particular issue or issues on which
       9   they seek declaratory relief, Underwriters lack sufficient information to admit or deny if the
      10   declaratory relief being sought by Plaintiffs will actually terminate the existing controversy
      11   between the parties, but admit that the issuance of declaratory relief by this Court at least holds
      12   the potential to terminate the existing controversy between the parties depending on the
      13   particular issue(s) addressed.
      14               8.4.     Underwriters admit that Plaintiffs seek a declaratory judgment with respect to
      15   rights and/or obligations under the Beazley Policy and the Federal Policy with respect to Dr.
      16   Newell’s claim but, again, it is presently unknown to Underwriters what particular aspect(s) of
      17   their coverage assessment Plaintiffs dispute, or what issues they want to raise concerning the
      18   Federal Policy.
      19                 VIII. SECOND CLAIM: BREACH OF CONTRACT (BEAZLEY ONLY)
      20               9.1.     Underwriters reallege their responses to the allegations of Paragraphs 1.1 through
      21   8.4, as if fully set forth herein.
      22               9.2.     Underwriters deny the allegations of paragraph 9.2.
      23               9.3.     Underwriters deny the allegations of paragraph 9.3.
      24                               IX.      [PLAINTIFFS’] PRAYER FOR RELIEF
      25               To the extent the Prayer for Relief includes any allegations of fact, Underwriters deny
      26   same.

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       1               Any allegation in the Complaint that is not expressly admitted herein is denied.
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                                               UNDERWRITERS’ DEFENSES
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ancisco3               By alleging the following defenses to Plaintiffs’ Complaint, Underwriters do not assume

 , CA 4    any burden of production, proof, or persuasion as to such defenses not otherwise imposed by
94111 5    law.
       6                                              FIRST DEFENSE
       7                              (Failure to State a Claim Against Underwriters)
       8               The Complaint fails to state a claim against Underwriters upon which relief can be
       9   granted.
      10                                             SECOND DEFENSE
      11                              (Failure to Satisfy The Beazley Policy Retention)
      12               Plaintiffs have not exhausted -- and depending on the outcome of the pending appeal of
      13   the underlying arbitration award and the Judgment that Dr. Newell obtained against Plaintiffs,
      14   may never exhaust -- their $1,000,000 self-insured retention obligation under the Beazley Policy.
      15                                              THIRD DEFENSE
      16             (Failure to Trigger The Beazley Policy’s Claims-Made-And-Reported Coverage)
      17               Plaintiffs did not and cannot satisfy other condition precedents to coverage under the
      18   Beazley Policy, rendering Plaintiffs’ claims against Underwriters meritless. For instance, the
      19   Beazley Policy affords coverage on a claims-made-and-reported basis and Plaintiffs did not
      20   report Dr. Newell’s Claim to Underwriters until after the applicable reporting period expired.
      21               Specifically, the Beazley Policy provides: “[i]n the event the Executive Officer [CEO,
      22   CFO, Director of HR, or Director of RM] of the Insured Organization becomes aware that a
      23   Claim has been made against any of the Insureds, the Insureds shall, as a condition precedent
      24   to their rights to payment under this Policy, give to the Underwriters notice in writing of such
      25   Claim as soon as practicable but in no event later than … sixty (60) days after the date the
      26   Executive Officer becomes aware of such Claim ….” Beazley Policy’s Terms and Conditions

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       1   Clause IX.A, as amended by Amend Notice of Claim to Control Group Endorsement.
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           Additionally, Insureds must “report all Claims with current details in writing to the
  San 2
ancisco3   Underwriters on semi-annual basis beginning 31st of March and 30th of September, or within 7

 , CA 4    days thereafter[.] Beazley Policy Terms and Conditions, Section VI, as amended by Non-Duty
94111 5    to Defend/Semi-Annual Bordereau Reporting/Pre-Approved Counsel Endorsement.
       6               Here, the underlying Claim by Dr. Newell was first made against an Insured no later
       7   than September 13, 2016 as evidenced by his pre-termination demand for dispute resolution, of
       8   which the Insured Organization’s Executive Officer was aware no later than September 14, if not
       9   the same day the Claim was made. Accordingly, in order to trigger any coverage under the
      10   Beazley Policy for the underlying Claim made by Dr. Newell, Plaintiffs had to report it to
      11   Underwriters no later than November 13, 2016. However, by November 13, 2016, Plaintiffs had
      12   not provided any notice of the Claim to Underwriters. And, even if measured by the later date
      13   when Dr. Newell commenced the arbitration on February 21, 2017, notice to Beazley would still
      14   not have satisfied the condition precedent, as notice was not provided to Beazley until August
      15   28, 2017.
      16               Additionally, as noted, Plaintiffs were required to include the underlying Claim by Dr.
      17   Newell on their March 2017 bordereaux report. However, they did not provide any notice of it
      18   to Underwriters on their March 2017 bordereaux report – or in any other fashion by that point in
      19   time.
      20               It was not until August 28, 2017 – eleven months after Dr. Newell made a pre-
      21   termination claim by demanding dispute resolution, and only after he was terminated, after his
      22   email account and emails had been deleted, after he had initiated an arbitration proceeding, after
      23   the arbitration hearing had concluded, and after the arbitrator had already determined the merits
      24   of the underlying Claim by Dr. Newell and had issued a binding arbitration award in excess of
      25   $17M against Providence and Swedish – that Underwriters were first notified of any dispute with
      26   or Claim by Dr. Newell.

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       1               While the failure to satisfy this condition precedent is a sufficient basis for concluding
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  San 2    that the Beazley Policy affords no coverage in connection with the underlying Claim by Dr.

ancisco3   Newell, it is not merely the length of time that is problematic here but the surrounding

 , CA 4    circumstances, including that, by the time Underwriters first received notice, the underlying
94111 5    Claim had already been adjudicated and a binding arbitration award already issued. Although
       6   Underwriters are not required to make a showing of prejudice above and beyond the lack of
       7   notice under applicable law, the extraordinary circumstances presented establish such prejudice
       8   in any event. See, e.g., NY CLS Ins § 3420(2)(B) (“an irrebuttable presumption of prejudice
       9   shall apply if, prior to notice, the insured's liability has been determined by … binding arbitration
      10   … .”)
      11               With respect to governing law, the Beazley Policy provides: “[e]xcept with respect to the
      12   insurability of punitive and exemplary damages … disputes involving this Policy shall be
      13   resolved by applying the law [of New York].” Policy, Service of Suit, Choice of Law and Short
      14   Rate Table and Procedures Endorsement; Policy Decl. Item 13. The coverage issue at hand does
      15   not involve the insurability of punitive and exemplary damages, and is not an issue to which Rev.
      16   Code Wash. § 48.18.200 applies and/or would alter. Washington law -- like applicable New
      17   York law -- honors and enforces the reporting condition precedent of claims-made-and-reported
      18   coverage without requiring insurers to make a showing of prejudice above and beyond the lack
      19   of notice. See, e.g., Great American Ins. Co. v. Sea Shepherd Conservation Society, 2014 U.S.
      20   Dist. LEXIS 71462, *14-15 (W.D. Wash. May 23, 2014) (Hon. Ricardo Martinez) (claims made
      21   insurer entitled to summary judgment where claim reported after 90-day grace period; “A
      22   claims-made policy functions identically to a claims-made-and-reported policy under
      23   Washington law where, as here, it possesses a finite notice requirement. … Contrary to
      24   Defendants’ assertions, an insurer that issues a claims-made policy under Washington law also
      25   does not need to show prejudice in order to deny coverage for an untimely reported claim.”)
      26   ///

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       1               In short, having decided to reject Dr. Newell’s pre-termination Claim and proceed
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           through binding arbitration without Underwriters’ knowledge or input, when the Beazley Policy
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ancisco3   expressly states proper notice to Underwriters is a condition precedent to any coverage under the

 , CA 4    Beazley Policy, Providence and Swedish have no coverage under the Beazley Policy for the
94111 5    resulting consequences, including but not limited to, defense fees and costs incurred in
       6   connection with the underlying Claim (including the current pending appeal) and the
       7   award/Judgment, including any interest thereon.
       8                                             FOURTH DEFENSE
       9                        (Breach of Express Written Employment Agreement Exclusion)
      10               Plaintiffs’ claims against Underwriters are precluded in whole or part by Section III.G of
      11   the Beazley Policy’s EPL Clause, which provides: “The Underwriters shall not be liable to make
      12   any payment for Loss in connection with or resulting from any Claim … for breach of an
      13   express written employment agreement, or under any policy or procedure providing for payment
      14   in the event of separation from employment unless such liability would have attached in the
      15   absence of such contract or agreement; provided, that this Exclusion shall not apply to Defense
      16   Costs incurred in connection with such Claim[.]”
      17                                               FIFTH DEFENSE
      18                   (Assumption of Contractual Obligation Without Underwriters’ Consent)
      19               As a separate and independent defense against Providence, Underwriters have no duty
      20   under the Policy in connection with the underlying dispute between Dr. Newell, on the one hand,
      21   and Providence, on the other, because of Providence’s assumption of contractual obligation
      22   without Underwriters’ consent. Policy Terms and Conditions Section VI, as amended by the
      23   Non-Duty to Defend/Semi-Annual Bordereau Reporting/Pre-Approved Counsel Endorsement
      24   provides, in part:
      25                        The Insureds shall not settle any Claim, select any
                                defense counsel, incur any Defense Costs in excess of
      26

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       1                         $250,000, admit or assume any liability, stipulate to any
Floor                            judgment or otherwise assume any contractual obligation,
  San 2                          without the Underwriters’ prior written consent, which
                                 shall not be unreasonably withheld. The Underwriters shall
ancisco3                         not be liable for any settlement, Defense Costs in excess
 , CA 4                          of $250,000, assumed obligation, admission or stipulated
                                 judgment, to which they have not consented.
94111 5
       6   Providence was not a signatory to the written employment contract under which Dr. Newell

       7   demanded and initiated arbitration. Nevertheless, Providence proceeded to arbitrate Dr.

       8   Newell’s Claim without providing prior notice to Underwriters, and without their consent.

       9   Providence thereby assumed a contractual obligation without Underwriters’ prior written

      10   consent.

      11                                                SIXTH DEFENSE

      12                        (Other Applicable Beazley Policy Provisions, Equity, and/or Law)

      13               Plaintiffs’ Complaint against Underwriters may be barred, in whole or in part, by other

      14   applicable terms, provisions, exclusions and/or conditions in the Beazley Policy, equity, or the

      15   law. Underwriters’ February 23, 2018 coverage correspondence identified additional Beazley

      16   Policy provisions on which Underwriters have reserved rights, including but not necessarily

      17   limited to Beazley Policy Terms and Conditions Section XII (“The Insureds agree to provide

      18   Underwriters with such information, assistance and cooperation as Underwriters or their counsel

      19   may reasonably request, and they further agree that they shall not take any action which in any

      20   way increases Underwriters’ exposure under this Policy”), and Section VII (allocation), as well

      21   as facts and documentary evidence relevant to such coverage reservations under the Beazley

      22   Policy, which are incorporated by reference as if fully set forth herein. Underwriters intend to

      23   rely upon and assert any and all applicable aspects of the Beazley Policy and/or the facts and

      24   evidence that are relevant to the subject matter of this coverage action.

      25   ///

      26   ///

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                        Case 2:18-cv-00495-RSM Document 28 Filed 04/25/18 Page 13 of 15
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       1                                            SEVENTH DEFENSE
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  San 2                                                  (Insurability)

ancisco3               If coverage under the Beazley Policy were otherwise triggered and not excluded (which

 , CA 4    is not the case considering the reasons for non-coverage set forth above and in Underwriters
94111 5    February 23, 2018 letter, incorporated by reference as if fully set forth herein), and the
       6   underlying Judgment were not fully overturned on appeal, Underwriters might be precluded from
       7   indemnifying Plaintiffs, in whole or in part, as a matter of applicable New York law/public
       8   policy.
       9                                             EIGHTH DEFENSE
      10                                             (Failure to Mitigate)
      11               Plaintiffs’ Complaint may be barred, in whole or in part, to the extent one or both
      12   Plaintiffs failed to mitigate, minimize, or avoid any damages that they allegedly sustained.
      13                                              NINTH DEFENSE
      14                        (Claimed Damages Not Proximately Caused by Underwriters)
      15               Any damages Swedish and/or Providence may have sustained were not proximately
      16   caused by Underwriters.
      17                                              TENTH DEFENSE
      18                                              (No Action Clause)
      19               Plaintiffs’ Complaint may be barred, in whole or in part, by Beazley Policy Section XIII,
      20   which states: “No action shall lie against Underwriters unless, as a condition precedent thereto,
      21   the Insureds shall have fully complied with all of the terms of this Policy, and that amount of the
      22   Insureds’ obligation to pay shall have been fully and finally determined either by judgment
      23   against them or by written agreement between them, the claimant and Underwriters. … .”
      24   Plaintiffs have not fully complied with all terms of the Beazley Policy as set forth in more detail
      25   above and in Underwriters February 23, 2018, which reasons are incorporated by reference as if
      26   fully set forth herein; and the underlying award/Judgment against Plaintiffs is still on appeal.

           UNDERWRITERS’ ANSWER TO THE COMPLAINT                                          SELMAN BREITMAN LLP
           Case No.: 2:18-cv-00495-RSM - 13                                              800 Fifth Avenue, Suite 4100
                                                                                                   Seattle, WA 98104
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       1               Underwriters reserve the right to assert other defenses that may be discovered during the
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  San 2    course of discovery or that may otherwise become apparent during the course of this litigation.

ancisco3               WHEREFORE, Underwriters ask this Court to dismiss the Complaint against

 , CA 4    Underwriters in its entirety with prejudice, that Plaintiffs recover nothing thereby, that this Court
94111 5    enter judgment in Underwriters’ favor, and against Plaintiffs, declaring that Underwriters have
       6   no duty to pay any insurance proceeds to or on behalf of the Plaintiffs in connection with the
       7   underlying Claim against them by Dr. Newell, and granting any other relief this Court deems
       8   appropriate.
       9

      10   DATED: April 25, 2018
      11

      12
                                                                By:     /s/ Justin S. Landreth _______________
      13                                                              Peter J. Mintzer, WSBA# 19995
                                                                      Justin Landreth, WSBA# 44849
      14                                                              SELMAN BREITMAN LLP
                                                                      800 Fifth Avenue, Suite 4100
      15                                                              Seattle, WA 98104
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      16                                                              Facsimile: 206.588.4185
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                                                                      Monique Fuentes, Pro Hac Vice
      19                                                              Ross Smith, Pro Hac Vice
                                                                      TROUTMAN SANDERS LLP
      20                                                              5 Park Plaza, Suite 1400
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                                                                      Monique.Fuentes@troutmansanders.com
      23                                                              Ross.Smith@troutmansanders.com
      24                                                        Attorneys for Defendant CERTAIN
                                                                UNDERWRITERS AT LLOYD'S LONDON,
      25                                                        SYNDICATE 2623/623 (BEAZLEY)
      26

           UNDERWRITERS’ ANSWER TO THE COMPLAINT                                         SELMAN BREITMAN LLP
           Case No.: 2:18-cv-00495-RSM - 14                                             800 Fifth Avenue, Suite 4100
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 LLP
                        Case 2:18-cv-00495-RSM Document 28 Filed 04/25/18 Page 15 of 15
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       1                                        CERTIFICATE OF SERVICE
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  San 2                I hereby certify that on April 25, 2018, I electronically filed the foregoing with the Clerk

ancisco3   of the Court using the CM/ECF system, which will send notification of the filing to all counsel of

 , CA 4    record who receive CM/ECF notification.
94111 5                DATED this 25th day of April, 2018.
       6
                                                                  /s/ Emily English
       7                                                          Emily English
       8

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           UNDERWRITERS’ ANSWER TO THE COMPLAINT                                           SELMAN BREITMAN LLP
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